  Case 2:09-cr-20119-JWL           Document 916         Filed 03/13/12   Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
              v.                                    )        Case No. 09-20119-JWL
                                                    )                 11-02697-JWL
JESUS RIOS MENDOZA,                                 )
                                                    )
                      Defendant.                    )
                                                    )



                           MEMORANDUM AND ORDER

       This matter is presently before the court on defendant Jesus Rios Mendoza’s

motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (doc.

821). For the reasons set forth below, this motion is dismissed as premature.

       Mr. Rios Mendoza pled guilty to conspiracy to distribute and possess with intent

to distribute more than five kilograms of cocaine; more than fifty grams of

methamphetamine; and marijuana (doc. 484). He received a 121-month term of

imprisonment. On June 2, 2011, Mr. Rios Mendoza filed a notice of appeal (doc. 692).

His appeal is currently pending before the Tenth Circuit1 (Case No. 11-3159).

       “Absent extraordinary circumstances, the orderly administration of criminal

justice precludes a district court from considering a § 2255 motion while review of the


       1
          Although Mr. Rios Mendoza has filed a motion with the Tenth Circuit requesting that
it “close his case,” at this time, his case is still pending.
  Case 2:09-cr-20119-JWL        Document 916       Filed 03/13/12    Page 2 of 2




direct appeal is still pending.” United States v. Cook, 997 F.2d 1312, 1319 (10th Cir.

1993) (citing Rule 5, Rules Governing § 2255 Proceedings, advisory committee note).

Mr. Rios Mendoza has not suggested any extraordinary circumstances warranting

consideration of his direct appeal and § 2255 petition simultaneously. As such, the court

will not consider the defendant’s § 2255 petition at this time.

       Thus, Mr. Rios Mendoza’s motion (doc. 821) is dismissed as premature.




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion

to vacate judgment (doc. 821) is dismissed.




       IT IS SO ORDERED this 13th day of March, 2012.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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